Case 2:21-cv-00415-JRG Document 145 Filed 03/10/23 Page 1 of 2 PageID #: 6287




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

TELECOM NETWORK SOLUTIONS,                          §
LLC,                                                §
                                                    §
                Plaintiff,                          §
                                                    §   CIVIL ACTION NO. 2:21-CV-00415-JRG
v.                                                  §   (LEAD CASE)
                                                    §
AT&T CORP., AT&T                                    §
COMMUNICATIONS LLC, AT&T                            §
MOBILITY LLC, AT&T MOBILITY II                      §
LLC, AT&T SERVICES INC., SPRINT                     §
SPECTRUM LLC,                                       §
CELLCO PARTNERSHIP D/B/A                            §   CIVIL ACTION NO. 2:21-CV-00416-JRG
VERIZON WIRELESS,                                   §   (MEMBER CASE)

T-MOBILE USA, INC., T-MOBILE US,                    §   CIVIL ACTION NO. 2:21-CV-00418-JRG
INC., SPRINT SPECTRUM LLC,                          §   (MEMBER CASE)
                                                    §
                Defendants.                         §
                                              ORDER

       Before the Court is the Joint Motion to Stay All Deadlines and Notice of Settlement (the

“Motion”) filed by Plaintiff Telecom Network Solutions, LLC and Defendants AT&T

Communications LLC, AT&T Corp., AT&T Mobility LLC, AT&T Mobility II LLC, AT&T

Services Inc., Sprint Spectrum LLC, Cellco Partnership d/b/a Verizon Wireless, T-Mobile US,

Inc., and T-Mobile USA, Inc. (Dkt. No. 143.) In the Motion, the parties represent that they have

reached a settlement in principle. (Id. at 1.) The parties request a stay of the above-captioned case

for thirty (30) days to finalize and effectuate the terms of the settlement agreement. (Id.)

       Having considered the Motion, and noting its joint nature, the Court finds that it should be

and hereby is GRANTED. Accordingly, all deadlines in the above-captioned case are STAYED
Case 2:21-cv-00415-JRG Document 145 Filed 03/10/23 Page 2 of 2 PageID #: 6288




for thirty (30) days, up to and including April 10, 2023, during which time appropriate dismissal

papers are to be filed with the Court.

      So ORDERED and SIGNED this 10th day of March, 2023.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE




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